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FoR THE wEsTERN DISTRICT 0F TENNESSEE 05 JUL l 9 AH \\= l 2

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BETTY J. PATRICK TYLER, ) ll"lll:l l l lll”'llll}lll§
Plaintiff, l
v. § Civil Action No: 02-2137-B/V
FEDERAL EXPRESS CoRP., §
Defendant. §

ORDER WITHDRAWING ATTORNEYS AND AMENDING SCHEDULING ORDER

Before the Court is Defendant’s Unopposed Motion to Withdraw Attomeys and to
Amend the Scheduling Order. Since Defendant’s Motion is Unopposed and good cause having
been show, Defendant’s Motion is hereby GRANTED.

IT IS SO ORDERED AS FOLLOWS:

l. Attorneys Elaine K. Sanders and Todd E. Taylor are removed as counsel of record
for Det`endant;

2. The Scheduling Order is hereby amended as follows:

a. Final List of Witnesses and Exhibits: October 12, 2005

Parties shall have 10 days after service of final lists of Witnesses and exhibits to
list objections under Rule 26(a)(3).

b. Jury Trial Date: November 28, 2005, at 1:30 p.m.

c. Pretrial Conference: November 21, 2005 at 1:30 p.m.

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d. Joint Pretrial order, jury instructions and motions in limine are due on

November 14, 2005.

Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended

Dated: l 53 @M/@A/\

O RABLE J. DANIEL BREEN
T D STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 102 in
case 2:02-CV-02137 Was distributed by f`aX, mail, or direct printing on
July 19, 2005 to the parties listedl

EsSEE

 

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Honorable J. Breen
US DISTRICT COURT

